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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT


YASSIR FAZAGA, et al.,

                     Plaintiffs-Appellants,


                     v.                                 Nos. 12-56867, 12-56874,
                                                              13-55017
FEDERAL BUREAU OF
 INVESTIGATION, et al.,

                     Defendants-Appellees.

                       NOTICE OF FILING OF
          CLASSIFIED SUPPLEMENTAL EXCERPTS OF RECORD

       The federal appellees hereby provide notice that on November 23, 2015, as

directed by the Court, the government filed Classified Supplemental Excerpts of

Record, ex parte and under seal, by lodging them with a Classified Information

Security Officer for transmission to this Court. The Classified Supplemental Excerpts

of Record consist of materials that were filed, ex parte and under seal, in the district

court. One of the documents in the Classified Supplemental Excerpts of Record,

labeled “Tab 6,” has since been declassified and has been filed in this Court on the

public record. See Mot. for Leave to File Superseding Briefs, Attachment 1 (June 25,

2015). Because that document was filed in the district court as a classified exhibit, it is

included in the Classified Supplemental Excerpts of Record even though it is now

declassified.
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                                   Respectfully submitted,

                                   s/ Daniel Tenny
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NOVEMBER 2015




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 23rd day of November, 2015, I filed the foregoing

via the Court’s CM/ECF system. The CM/ECF system will effect service on all

counsel of record.

                                              s/ Daniel Tenny
                                              Daniel Tenny
